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                         THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS


  ROTHSCHILD BROADCAST
  DISTRIBUTION SYSTEMS, LLC,
                                                        Case No. 6:23-cv-00339
                Plaintiff
                                                        JURY TRIAL DEMANDED
                v.
                                                        PATENT CASE
  ADT, INC.,

                Defendant.



                JOINT STIPULATION OF DISMISSAL OF ALL CLAIMS


       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Rothschild

Broadcast Distribution Systems, LLC (“Plaintiff”) and Defendant ADT, Inc. (“Defendant”)

hereby stipulate and agree:

               1.     All claims asserted by Plaintiff in the above-captioned action are hereby

dismissed with prejudice.

               2.     Each party shall bear its own attorneys’ fees, costs, and expenses in

connection with this action.




Dated: September 27, 2023

 GARTEISER HONEA, PLLC                           PILLSBURY WINTHROP SHAW
                                                 PITTMAN LLP
 /s/ René A. Vazquez
 René A. Vazquez                                 /s/ Michael E. Zeliger
   Virginia Bar No. 41988                        Steven Tepera (TX Bar No. 24053510)
                                                 steven.tepera@pillsburylaw.com
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  rvazquez@ghiplaw.com                    401 Congress Avenue, Suite 1700
 Randall Garteiser                        Austin, TX 78701-3797
  Texas Bar No. 24038912                  Phone: 512.580.9600
  rgarteiser@ghiplaw.com                  Fax: 512.580.9601
 M. Scott Fuller
  Texas Bar No. 24036607                  Michael E. Zeliger (CA Bar No. 271118)
  sfuller@ghiplaw.com                     michael.zeliger@pillsburylaw.com
                                          2550 Hanover Street Palo Alto, CA 94304
 119 W. Ferguson Street                   Phone: 650.233.4097
 Tyler, Texas 75702                       Fax: 650.233.4069
 Telephone: (903) 705-7420
 Facsimile: (903) 405-3999                Audrey Lo (CA Bar No. 253738)
                                          audrey.lo@pillsburylaw.com
Attorneys for Plaintiff                   2550 Hanover Street
                                          Palo Alto, CA 94304
                                          Phone: 650.233.4097
                                          Fax: 650.233.4085

                                         Attorneys for Defendant
